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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


DARYL THOMAS AGNEW
4223 Brooks Street, NE,
Washington DC 20019

and

ALEX DENNIS
3130 Buena Vista Terrace, SE
Apt. 1
                                                     Civil Action No.: 15-340 (ABJ)
Washington, DC 20020

and

RAYNEKA WILLIAMSON
425 2d Street, NE
Washington, DC

Plaintiffs

      v.

GOVERNMENT OF THE DISTRICT OF
COLUMBIA

Defendant
                                        Civil Notice of Appeal

           Notice is hereby given this 25th day of July, 2017 that Plaintiffs Darryl Thomas

Agnew, Alex Dennis, and Rayneka mmm Williams, on behalf of themselves and all others

similarly situated, hereby appeal to the United States Court of Appeals for the District of

Columbia Circuit from the judgment of the Court entered June 26, 2017 [Document # 42] in

favor of the defendant, government of the District of Columbia, against said plaintiffs.


 Respectfully submitted,                               Respectfully submitted,

 /s/ William Claiborne                                 /s/ Lynn E. Cunningham
 WILLIAM CLAIBORNE                                     Lynn E. Cunningham, Esq.
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  D.C. Bar # 446579                        DC Bar# 221598

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Respectfully submitted,


/s/ Michael Bruckheim
MICHAEL BRUCKHEIM
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and the Classes

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